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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


TRUSTEES OF THE OPERATING
ENGINEERS LOCAL 324 PENSION FUND,
                                                        Case No.: 18-cv-
      Plaintiffs,                                       Hon.
v.

WATERLAND TRUCKING SERVICE, INC.,
a Michigan corporation,

      Defendant.

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MATTHEW I. HENZI (P57334)
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               COMPLAINT FOR WITHDRAWAL LIABILITY

      NOW COME the Trustees of the OPERATING ENGINEERS LOCAL 324

PENSION FUND, by and through their attorneys, SULLIVAN, WARD, ASHER

& PATTON, P.C., and for their Complaint for Withdrawal Liability against

Defendant, WATERLAND TRUCKING SERVICE, INC., state as follows:
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       1.   Plaintiffs are the Trustees of the Operating Engineers Local 324

Pension Fund, which is a Trust Fund with administrative offices in the Township

of Bloomfield, Oakland County, Michigan (hereinafter the “FUND”).

       2.   Defendant, WATERLAND TRUCKING SERVICE, INC., is a

Michigan corporation with its principal place of business in the State of Michigan

(hereinafter “WATERLAND”).

       3.   The FUND is administered by a joint board of trustees, the Plaintiffs,

pursuant to the terms and provisions of its Agreement and Declaration of Trust.

The FUND was established pursuant to the Collective Bargaining Agreement

entered into between the Operating Engineers Local 324 Union and certain

employers and employer associations, whose members employ members of the

Union, and the Fund is required to be administered and maintained in accordance

with the provisions of the LMRA, ERISA, and other applicable state and federal

statutes.

       4.   At all relevant times, WATERLAND was bound to the contract with

the Operating Engineers Local 324 Union.

       5.   The FUND is a third-party beneficiary to the Collective Bargaining

Agreement between WATERLAND and the Operating Engineers Local 324

Union.




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      6.     Pursuant to the terms and provisions of the Collective Bargaining

Agreement between WATERLAND and the Union, WATERLAND agreed to pay,

in addition to wages, employee fringe benefit contributions to the FUND for each

employee employed by WATERLAND and covered by the Agreement.

      7.     On or about April 30, 2012, WATERLAND experienced a partial

withdrawal from the FUND.

      8.     On or about April 30, 2013, WATERLAND experienced a partial

withdrawal from the FUND.

      9.     On or about May of 2013, WATERLAND experienced a complete

withdrawal from the FUND.

      10.    Pursuant to 29 USC §1381, ERISA §4201 and 29 USC §1385, ERISA

§4205, when an Employer withdraws from a Multiemployer Plan, such as Plaintiff,

withdrawal liability is assessed.

      11.    Based on WATERLAND’S withdrawals from the FUND, it incurred

withdrawal liability in the amount of $3,339,420.00.

      12.    This is an action for the collection of withdrawal liability pursuant to

29 USC §1451 and 29 USC §1145. Jurisdiction and venue are proper in this Court

pursuant to 29 USC §1451 and 29 USC §1132. Further, this Court has further

jurisdiction pursuant to Section 301 of the LMRA, 29 USC §185, this being an




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action arising out of a Collective Bargaining Agreement between the labor

organization and an employer.

      13.      On November 27, 2017, Plaintiffs submitted a demand for payment of

withdrawal liability to WATERLAND pursuant to 29 USC §1399.

      14.      Pursuant to the demand provided by the Plaintiffs as set forth above,

WATERLAND was to make a quarterly payment toward the withdrawal liability

in the amount of $943,696.26 on February 1, 2018, followed by additional

quarterly payments. 29 USC §1399.

      15.      WATERLAND has failed to make its installment payment of

$943,696.26, on February 1, 2018, its installment payment of $902,807.74 on May

1, 2018, and its installment payment of $276,263.00 on August 1, 2018.

      16.      WATERLAND has filed a Request for Review and a Demand for

Arbitration.

      17.      Regardless of the filing of a Request for Review and/or Demand for

Arbitration, all interim payments must be made in accordance with the schedule set

forth by Plaintiffs. 29 USC §1401(d) and 29 USC §1399(c)(2).

      18.      Moreover, if the interim payments are not made, the delinquent

employer shall be treated as if failing to make employee benefit contributions

required under the Plan within the meaning of 29 USC §1145. See 29 USC

§1401(d) and 29 USC §451(b). See also CFR 4219.31(c)(2).


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      19.    Despite the requirements of federal law and the demands made by

Plaintiffs, WATERLAND has failed and/or refused to pay its withdrawal liability

and/or the accrued interest.

      20.    Pursuant to 29 USC §1451 the failure to pay withdrawal liability as

required is to be treated in the same manner as failure to make ongoing

contribution payments within the meaning of 29 USC §1145.

      21.    Pursuant to 29 USC §1132(g)(2) all Judgments obtained pursuant to

29 USC §1145 are mandated to include not only the unpaid contributions, but

attorney fees, costs, liquidated damages and interest on the withdrawal liability.

      22.    Despite Plaintiffs’ demands, WATERLAND continues to refuse to

pay the due and owing withdrawal liability and/or the accrued interest.

      WHEREFORE, Plaintiff respectfully requests that a Judgment be entered

against WATERLAND TRUCKING SERVICE, INC., and to include the

following:

      A.     Withdrawal liability in the amount of $2,122,767.00 (three missed
             interim payments of $943,696.26, $902,807.74, and $276,263.00), and
             any additional missed interim payments during the pendency of this
             action.

      B.     The Judgment shall include the mandates of 29 USC §1132(g)(2)
             which include interest, liquidated damages, costs, and attorney fees.

      C.     Enter an Injunctive Order requiring WATERLAND to make all future
             interim payments.



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        D.      This Honorable Court maintain jurisdiction of this matter pending
                compliance with the Court’s Orders; and

        E.      Any such other, further or different relief as may be just and equitable
                under the circumstances.


                                          Respectfully submitted,

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Dated: August 23, 2018                    P51375


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